Case 1:05-cr-10062-.]DT Document 12 Filed 08/29/05 Page 1 of 3 Page|D 12

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Eastern Division 8 29 PPl 3: 50

UNITED STATES OF AMERICA

 

-v- Case No. l:t]Scr] 0062-003T

GARY CURTIS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

lT lS ORDERED that the release ofthe defendant is subject to the following conditions and provisions:

(l) 'l`he defendant shall not commit any offense in violation offederal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court1 Pretrial Services Oflice, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
{3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroorn Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
coininunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Unsecured Financial Condition

¢ The defendant executes an unsecured bond binding the defendant to pay the United States the sum of$25,t]00
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed

0 report as directed by the Pretrial Services Office.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALTIES AND SANCT!ONS:

A violation ol`any ol`the foregoing conditions ot`release may result in the immediate issuance ofa warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term ofimprisonrnent, a fine, or both.

Thts document entered on the dockets ee in comp
AO iaaA order Senang conditions er Retease ' l' Wlth RulE 55 andfor SE{D) FHCrP Orl

 
 

Case 1:05-cr-10062-.]DT Document 12 Filed 08/29/05 Page 2 of 3 Page|D 13

The commission ofa Federal offense while on pretrial release may result in an additional sentence to a term
ofimprisonment of not more than ten years, if the offense is a felony; or a tenn of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a 3250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
inforinant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for rampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killingl

lf after release, you knowingly fail to appear as required by the conditions ofrelease, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisoninent, or imprisonment for a tenn of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall
be fined not more than $250,0()0 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a niisdemeanor, you shall be fined not more than 3100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l ain the defendant in this case and that l am aware oftlie conditions ofrelease. l promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed l am aware

of the penalties and sanctions set forth above.
id am a cia/ij

//Signature of Defendant

Gary Curtis
ss wilson Rd., i>.o. sex 342
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(270) 335-5420 il `lc '

D|RECT|ONS TO THE UN|TED STATES MARSHAL

l:l The defendant is ORDERED released after processing

El The United States marshal is ORDERED to keep the defendant in custody until notified by tlie Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for releasel The
defendant shall be produced before the appropriatejudicial officer at the time and place specified if still in
custody.

f__.__
Date: AugustZ6,2005 C§. //'llm’liq'~§ ja

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

AO issA Orcter Setting Ccndltions ct Release '2'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CR-10062 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed

 

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

.lacl<son7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

.lacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

